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                      IN THE UNITED STATES BANKRUPTCY COURT
                     FOR THE NORTHERN DISTRICT OF OKLAHOMA

IN RE:                                                                                                                   Filed/Docketed
                                                                               Case No. 16-10605-M                        Jun 24, 2019
THOMAS HARRY LORD,                                                             Chapter 13
BOBBIE JEAN LORD,

       DEBTORS.


                                                  AGREED ORDER

       THIS MATTER comes on before the Court on the Amended Motion for Relief from

Automatic Stay and Abandonment of Property filed in this matter by TIKI SERIES III TRUST

(“Movant”) (Doc. 56), and Debtors’ response and objection thereto (Doc. 57). The parties have

reached an agreement which is outlined below, and which the Court hereby adopts.

       The parties stipulate and agree to the following:

       1.      Movant is the holder of a claim secured by a valid recorded mortgage lien upon

the following real property (the “property”):

                         The E/2 of the SW/4 of the SE/4 of the SE/4 of Section 13,
                         Township 23 North, Range 23 East, Delaware County, State of
                         Oklahoma a/k/a 11844 E 380th Rd, Jay, OK 74346.

       2.      The Debtors are currently delinquent with their post-petition mortgage in the amount

of $6,145.32 good to June 15, 2019, as more fully described below:

                Ongoing Monthly Mortgage Payments:
                June 1, 2018 thru May 1, 2019 …………………………..                                                   $4,938.00
                Payment Due June 1, 2019 .................................................                     $412.97
                Bankruptcy Fees/Costs ........................................................               $1,031.00
                Suspense .................................................................................    ($236.65)
                                                                                                             $6,145.32
                TOTAL:
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        3.      The Debtors shall be allowed to cure their post-petition arrearage by modifying their

Chapter 13 plan to provide for the above-stated arrearage and to provide for payment in the amounts

that may be indicated by subsequently filed Payment Change Notices. Provided that if the Debtors

are not successful in obtaining an order modifying plan within 60 days following the date of the

Court’s entry of this Order, relief may be granted upon Movant filing a Notice of Default and

Request for Entry of Order as set forth below.

        IT IS THEREFORE ORDERED that the automatic stay pursuant to 11 U.S.C. § 362(a)

is hereby conditionally modified as stated above.

        IT IS FURTHER ORDERED that, if the Debtors are not successful in obtaining a

confirmed amended plan by said 60-day deadline and Movant files the Notice of Default and

Request for Entry of Order as set forth below, the above-described real property is also ordered

abandoned from the estate pursuant to 11 U.S.C. § 554(b).

        IT IS FURTHER ORDERED that the automatic stay pursuant to 11 U.S.C. § 362(a)

may be terminated and the real property described above may be ordered abandoned upon the

Movant filing a Notice of Default and Request for Entry of Order with the Court, allowing

Debtors 10 days from the date of filing to respond, in the event the Debtors fail to comply with

the terms outlined above. It is further ordered that in the event of such default, the Movant shall

submit with the Notice of Default and Request for Entry of Order an affidavit signed by a non-

attorney representative verifying the default.

        IT IS FURTHER ORDERED that any Order terminating the automatic stay and

abandoning property shall authorize the Chapter 13 Trustee is hereby to cease all payments to the

Movant under the plan, and may disburse funds that TIKI SERIES III TRUST would otherwise be

entitled to receive to other creditors of the estate.



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      IT IS SO ORDERED.

             DATED this 24th day of June, 2019.

                                                  BY THE COURT:



                                                  TERRENCE L. MICHAEL
                                                  UNITED STATES BANKRUPTCY JUDGE




AGREED AND APPROVED:


s/ J. Ken Gallon__________________________
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